Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 1 of 38 PageID #:635417




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

IN RE BROILER CHICKEN ANTITRUST             Case No.: 1:16-cv-08637
LITIGATION,
                                            The Honorable Thomas M. Durkin

This Document Relates To:                   Magistrate Judge Jeffrey T. Gilbert

THE DIRECT PURCHASER PLAINTIFF
ACTION



     MEMORANDUM IN SUPPORT OF DIRECT PURCHASER PLAINTIFFS’
    MOTION FOR PAYMENT OF ATTORNEYS’ FEES, REIMBURSEMENT OF
  LITIGATION EXPENSES, AND CLASS REPRESENTATIVE SERVICE AWARDS
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 2 of 38 PageID #:635418




                                               TABLE OF CONTENTS
                                                                                                                                     Page

I.     INTRODUCTION ...............................................................................................................1
II.    LITIGATION BACKGROUND .........................................................................................2
       A.        DPPs’ Motion for Class Certification was Hotly Contested and Ultimately
                 Successful ................................................................................................................2
       B.        DPPs Opposed Defendants’ Motions for Summary Judgment and Largely
                 Defeated the Challenges ..........................................................................................3
       C.        DPPs Tried the Case Against Defendant Sanderson Farms.....................................3
       D.        Co-Lead Class Counsel Secured Over $284 Million in Settlements .......................3
       E.        The Court Approved DPPs’ Request for Interim Payment of Attorneys’
                 Fees, Reimbursement of Litigation Expenses, and Class Representative
                 Service Awards ........................................................................................................5
       F.        The First Distribution was Successful and Over $108 Million was Paid to
                 Qualified Claimants .................................................................................................6
       G.        The DPP Class Members Have Adequate Notice and Opportunity to be
                 Heard Regarding this Motion...................................................................................6
III.   CALCULATION OF THE NET SETTLEMENT FUND ...................................................7
IV.    THE REQUESTED FEE AWARD IS APPROPRIATE UNDER
       CONTROLLING LAW .......................................................................................................8
       A.        DPPs Seek a Percentage of the Settlement Fund as an Award of Fees ...................8
                 1.         Plaintiffs’ Requested Fee is an Appropriate Market-Based Fee ................11
                 2.         The Case Presented Substantial Litigation Risk From Inception
                            Through Trial, and the Early Settlements and Prevailing at the
                            Pleading Stage Did Not Guarantee Success or Alleviate Class
                            Counsel’s Risk ...........................................................................................13
                 3.         Class Counsel Dedicated Enormous Resources to this Matter and
                            Faced Significant Risks to Successfully Resolve this Case .......................19
                 4.         Comparable Cases Provide the Basis for this Request ..............................22
       B.        A Lodestar Cross-Check Confirms that the Fee Requested is Proper ...................22
V.     CLASS COUNSEL’S LITIGATION EXPENSES WERE REASONABLY
       INCURRED AND SHOULD BE REIMBURSED ...........................................................25
VI.    THE CLASS REPRESENTATIVES SHOULD RECEIVE SERVICE AWARDS .........28
VII.   CONCLUSION ..................................................................................................................29




                                                                   i
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 3 of 38 PageID #:635419




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Americana Art China Co., Inc. v. Foxfire Printing and Packaging, Inc.,
  743 F.3d 243 (7th Cir. 2014) .....................................................................................................9

Arenson, et al. v. Bd. of Trade of City of Chicago,
   372 F. Supp. 1349 (N.D. Ill. 1974) ..........................................................................................19

In re Auto Parts Antitrust Litig.,
    No. 12-2311, 2015 WL 13715591 (E.D. Mich. Dec. 7, 2015) ................................................27

In re Auto Parts Antitrust Litig.,
    No. 12-2311, 2016 WL 9459355 (E.D. Mich. Nov. 29, 2016) ................................................27

In re Auto Parts Antitrust Litig.,
    No. 12-2311, 2018 WL 7108072 (E.D. Mich. Nov. 5, 2018) ..................................................27

In re Avandia Mktg., Sales Practices and Prods. Liab. Litig.,
    MDL No. 1871, 2012 WL 6923367 (E.D. Pa. Oct. 19, 2012) .................................................18

Blue Shield of Va. v. McCready,
   457 U.S. 465 (1982) .................................................................................................................12

Blum v. Stenson,
   465 U.S. 886 (1984) .................................................................................................................11

Boeing Co. v. Van Gemert,
   444 U.S. 472 (1980) ...................................................................................................................8

Brewer v. S. Union Co.,
   607 F. Supp. 1511 (D. Colo. 1984) ..........................................................................................19

Burkholder v. City of Ft. Wayne,
   750 F. Supp. 2d 990 (N.D. Ind. 2010) .....................................................................................12

In re California Micro Devices Sec. Litig.,
    965 F. Supp. 1327 (N.D. Cal. 1997) ........................................................................................27

Campbell v. Advantage Sales & Mktg. LLC,
  No. 1:09-cv-01430, 2012 WL 1424417 (S.D. Ind. Apr. 24, 2012)..........................................12

In re Capital One Telephone Consumer Protection Act Litig.,
    80 F. Supp. 3d 781 (N.D. Ill. 2015) .........................................................................................14




                                                                    ii
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 4 of 38 PageID #:635420




In re Cardizem CD Antitrust Litig.,
    218 F.R.D. 508 (E.D. Mich. 2003) ..........................................................................................15

In re Cathode Ray Tube (CRT) Antitrust Litig.,
    MDL No. 1917, 2016 WL 721680 (N.D. Cal. Jan. 28, 2016) .................................................15

Matter of Cont’l Illinois Sec. Litig.,
   962 F.2d 566 (7th Cir. 1992) ...................................................................................................13

Cook v. Niedert,
   142 F.3d 1004 (7th Cir. 1998) .....................................................................................23, 24, 28

In re Dairy Farmers of Am., Inc.,
    80 F. Supp. 3d 838 (N.D. Ill. 2015) ................................................................................. passim

Denius v. Dunlap,
   330 F.3d 919 (7th Cir. 2003) ...................................................................................................23

Florin v. Nationsbank of Ga., N.A.,
   34 F.3d 560 (7th Cir. 1994) ...................................................................................10, 13, 23, 24

Gaskill v. Gordon,
   160 F.3d 361 (7th Cir. 1998) .....................................................................................................8

Gaskill v. Gordon,
   942 F. Supp. 382 (N.D. Ill. 1996) ......................................................................................10, 22

Gastineau v. Wright,
   592 F.3d 747 (7th Cir. 2010) ...................................................................................................23

George v. Kraft Foods Glob., Inc.,
   Nos. 1:08-cv-03799; 1:07-cv-01713, 2012 WL 13089487 (N.D. Ill. June 26, 2012) .............23

Goldsmith v. Tech. Sols. Co.,
   No. 1:92-cv-04374, 1995 WL 17009594 (N.D. Ill. Oct. 10, 1995) .........................................12

Hale v. State Farm Mut. Auto. Ins. Co.,
   No. 3:12-cv-00660, 2018 WL 6606079 (S.D. Ill. Dec. 16, 2018) .................................8, 10, 22

Harman v. Lyphomed, Inc.,
   945 F.2d 969 (7th Cir. 1991) ...................................................................................................24

Heekin v. Anthem, Inc.,
   No. 1:05-cv-01908, 2012 WL 5878032 (S.D. Ind. Nov. 20, 2012) ...............................9, 11, 23

In re Hyundai and Kia Fuel Economy Litig.,
    926 F.3d 539 (9th Cir. 2019) ...................................................................................................25




                                                                 iii
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 5 of 38 PageID #:635421




In re Ins. Brokerage Antitrust Litig.,
    282 F.R.D. 92 (D.N.J. Mar. 30, 2012) .....................................................................................18

Jeffboat, LLC v. Dir., Office of Workers’ Comp. Progs.,
    553 F.3d 487 (7th Cir. 2009) ...................................................................................................23

Kelly v. Wengler,
   822 F.3d 1085 (9th Cir. 2016) .................................................................................................25

Kirchoff v. Flynn,
   786 F.2d 320 (7th Cir. 1986) .....................................................................................................9

Kitson v. Bank of Edwardsville,
    No. 3:08-cv-00507, 2010 WL 331730 (S.D. Ill. Jan. 25, 2010) ..............................................12

Kolinek v. Walgreen Co.,
   311 F.R.D. 483 (N.D. Ill. 2015) ...............................................................................................22

In re Lawnmower Engine Horsepower Mktg. & Sales Practices Litig.,
    733 F. Supp. 2d 997 (E.D. Wis. 2010).....................................................................................24

Leung v. XPO Logistics, Inc.,
   326 F.R.D. 185 (N.D. Ill. 2018) ...............................................................................................23

In re Linerboard Antitrust Litig.,
    No. 2:98-cv-05055, 2004 WL 1221350 (E.D. Pa. June 2, 2004).............................................16

In re Lithotripsy Antitrust Litig.,
    No. 1:98-cv-08394, 2000 WL 765086 (N.D. Ill. June 12, 2000)...................................9, 11, 12

Martin v. Caterpillar Inc.,
  No. 1:07-cv-01009, 2010 WL 11614985 (C.D. Ill. Sept. 10, 2010) ........................................12

Mills v. Elec. Auto-Lite Co.,
   396 U.S. 375 (1970) .............................................................................................................8, 25

Montgomery v. Aetna Plywood, Inc.,
  231 F.3d 399 (7th Cir. 2000) .....................................................................................................8

Newby v. Enron Corp.,
   394 F.3d 296 (5th Cir. 2004) ...................................................................................................27

In re Northfield Lab., Inc. Secs. Litig.,
    No. 1:06-cv-01493, 2012 WL 2458445 (N.D. Ill. June 26, 2012).............................................9

Pavlik v. FDIC,
   No. 1:10-cv-00816, 2011 WL 5184445 (N.D. Ill. Nov. 1, 2011) ............................................11




                                                                   iv
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 6 of 38 PageID #:635422




Paz v. Portfolio Recovery Assocs., LLC,
   924 F.3d 949 (7th Cir. 2019) ...................................................................................................23

In re Pork Antitrust Litig.,
    No. 0:18-cv-01776-JRT (ECF No. 1424) (D. Minn. July 22, 2022) .......................................27

In re Potash Antitrust Litig.,
    No. 1:08-cv-06910 (ECF No. 589) (N.D. Ill. June 12, 2013) ..................................................11

In re Pressure Sensitive Labelstock,
    584 F. Supp. 2d at 702 .............................................................................................................27

In re Ready-Mixed Concrete Antitrust Litig.,
    No. 1:05-cv-00979, 2010 WL 3282591 (S.D. Ind. Aug. 17, 2010) ...............................9, 12, 25

Retsky Family Ltd. Partnership v. Price Waterhouse LLP,
   No. 1:97-cv-07694, 2001 WL 1568856 (N.D. Ill. Dec. 10, 2001) ..........................................12

Sanderson Farms Inc. v. Amory Investments LLC,
   No. 22-8007 (7th Cir. Jul. 18, 2022) ....................................................................................2, 17

In re Schering-Plough Corp. Enhance Secs. Litig.,
    No. 2:08-cv-02177, 2013 WL 5505744 (D.N.J. Oct. 1, 2013) ................................................18

Schulte v. Fifth Third Bank,
   805 F. Supp. 2d 560 (N.D. Ill. 2011) .................................................................................12, 24

Silverman v. Motorola Sols., Inc.,
    739 F.3d 956 (7th Cir. 2013) ...............................................................................................9, 13

Skelton v. Gen. Motors Corp.,
   860 F.2d 250 (7th Cir. 1988) .............................................................................................23, 24

Standard Iron Works v. ArcelorMittal,
   No. 1:08-cv-05214, 2014 WL 7781572 (N.D. Ill. Oct. 22, 2014) ...........................................24

Matter of Superior Beverage/Glass Container Consol. Pretrial,
   133 F.R.D. 119 (N.D. Ill. 1990) ...............................................................................................16

Sutton v. Bernard,
    504 F.3d 688 (7th Cir. 2007) .....................................................................................................9

In re Synthroid Mktg. Litig.,
    264 F.3d 712 (7th Cir. 2001) .......................................................................................13, 14, 25

Taubenfeld v. AON Corp.,
   415 F.3d 597 (7th Cir. 2005) ...................................................................................................22




                                                                    v
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 7 of 38 PageID #:635423




In re TFT-LCD (Flat-Panel) Antitrust Litig.,
    MDL 1827, 2013 WL 149692 (N.D. Cal. Apr. 3, 2013) .........................................................24

In re Transpacific Passenger Air Transp. Antitrust Litig.,
    No. 07-5634, 2015 WL 3396829 (N.D. Cal. May. 26, 2015) ..................................................27

Trist v. First Fed. Savings & Loan Ass’n of Chester,
    89 F.R.D. 8 (E.D. Pa. 1980) .....................................................................................................19

Vizcaino v. Microsoft Corp.,
    290 F.3d 1043 (9th Cir. 2002) .................................................................................................25

In re Warner Comm’ns. Secs. Litig.,
    618 F. Supp. 735 (S.D.N.Y. 1985) ..........................................................................................18

Will v. Gen. Dynamics Corp.,
   No. 3:06-cv-00698, 2010 WL 4818174 (S.D. Ill. Nov. 22, 2010)...........................................12

Williams v. Gen. Elec. Cap. Auto Lease,
   No. 1:94-cv-07410, 1995 WL 765266 (N.D. Ill. Dec. 26, 1995) ..............................................8

Williams v. Rohm & Haas Pension Plan,
   658 F.3d 629 (7th Cir. 2011) ...........................................................................................8, 9, 23

Williams v. Rohm & Haas Pension Plan,
   No. 4:04-cv-00078, 2010 WL 4723725 (S.D. Ind. Nov. 12, 2010) .........................................28

In re WorldCom, Inc. Sec. Litig.,
    No. 02-3288, 2004 WL 2591402 (S.D.N.Y. Nov. 12, 2004)...................................................27

In re WorldCom, Inc. Secs. Litig.,
    388 F. Supp. 2d 319 (S.D.N.Y. 2005)......................................................................................18

Wright v. Nationstar Mortg. LLC,
   No. 1:14-cv-10457, 2016 WL 4505169 (N.D. Ill. Aug. 29, 2016) ..........................................23

Zenith Radio Corp. v. Hazeltine Rsch., Inc.,
   395 U.S. 100 (1969) .................................................................................................................12

Other Authorities

Alba Conte, Attorney Fee Awards § 2.08 (3d ed. 2004) ................................................................25

Fed. R. Civ. P. 23(h) ..................................................................................................................8, 25

Lester Brickman, ABA Regulation of Contingency Fees: Money Talks, Ethics
   Walks, 65 FORDHAM L. REV. 247, 248 (1996) .........................................................................11

MANUAL FOR COMPLEX LITIGATION (Fourth), § 13.21 ..................................................................27


                                                                     vi
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 8 of 38 PageID #:635424




Theodore Eisenberg & Geoffrey P. Miller, Attorneys’ Fees and Expenses in Class
   Action Settlements: 1993-2008, 7 J. EMPIR. L. STUD. 248 (2010) ...........................................15




                                                     vii
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 9 of 38 PageID #:635425




I.       INTRODUCTION

         From the time this case was filed in 2016 through today, Co-Lead Class Counsel1 for the

Direct Purchaser Plaintiff Class (“DPPs” or “DPP Class”) have secured $284,651,750 in

settlements with thirteen Defendants and have agreed to cost waiver settlements with the remaining

seven defendants. (See Section II.D below.) After nearly eight years of hard-fought litigation,

including achieving the contested certification of the DPP Class (ECF No. 5644), largely defeating

Defendants’ motions for summary judgment (ECF No. 6641), and a six-week trial against the

remaining Defendant, Sanderson Farms (ECF No. 7015), Co-Lead Class Counsel have begun the

process of winding down this litigation by providing notice to the DPP Class of the recent

settlements, commencing the second claims process, and preparing to distribute the net proceeds

from the Mar Jac, Harrison Poultry, Simmons, Mountaire, O.K. Foods, HRF, and Koch settlements

to qualified claimants.2

         The successful litigation of this complex antitrust class action reflects the skill, expertise,

and hard work of Co-Lead Class Counsel and other Direct Purchaser Plaintiff Counsel

(collectively, “Class Counsel”),3 and the benefit to DPP Class members is substantial, real, and



     1
     The Court appointed Lockridge Grindal Nauen P.L.L.P. (“LGN”) and Pearson Warshaw,
LLP (“PW”) as Interim Co-Lead Counsel at the outset of the litigation (ECF No. 144, Oct. 14,
2016 Order), and as Co-Lead Class Counsel when it granted DPPs’ motion for class certification
(ECF No. 5644 at 6).
     2
      The proceeds from the first six settlements with Defendants Fieldale, Peco, George’s, Amick,
Pilgrim’s, and Tyson have already been distributed to qualified claimants. (See ECF No. 5787.) In
addition to the settlement proceeds that have yet to be distributed is $5,226,221.73 (as of April 30,
2024) that was previously approved for redistribution. (Id. at 3-4.) These funds are invested in an
interest-bearing account and taxes are paid as necessary. No attorneys’ fees, litigation expenses,
or service awards that may be awarded as a result of this Motion will be paid from these funds.
     3
     Under Co-Lead Class Counsel’s direction, 20 other firms prosecuted this case on DPPs’
behalf and, together with Co-Lead Class Counsel, they are referred to collectively in this
Memorandum as “Class Counsel.” At all times, Co-Lead Class Counsel directed and organized
Class Counsel’s work. (See generally Declaration of W. Joseph Bruckner in Support of Direct


                                                   1
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 10 of 38 PageID #:635426




concrete, compared to the significant litigation risks this case presented. For the reasons detailed

in this brief, DPPs respectfully ask the Court to award Class Counsel 33 1/3% of the Net Settlement

Fund or $37,279,851.67 as attorneys’ fees (see Sections III and IV below), $1,029,448.72 as

reimbursement for litigation expenses (see Section V below), and $100,000.00 as a future litigation

expense fund (see id.). DPPs also seek $15,000.00 in service awards to each of the five named

Class Representatives for their dedication and hard work in prosecuting this litigation (see Section

VI below). DPPs’ requests for attorneys’ fees, costs, and incentive awards are supported by the

relevant law, the time, effort, and expenses expended in this case by class counsel, and the results

obtained in the litigation.

II.     LITIGATION BACKGROUND

        The Court is very familiar with this case, and thus DPPs will dispense with a detailed

recitation of its background. However, for the purpose of this motion, DPPs provide the below

summary of the major events in the litigation that occurred since the Court approved the interim

distribution of attorneys’ fees in December 2021 (ECF No. 5229).

        A.      DPPs’ Motion for Class Certification was Hotly Contested and Ultimately
                Successful

        After extensive briefing, including many expert opinion reports, evidence relating to class

certification issues, and a two-day hearing, the Court certified the DPP Class. (ECF No. 5644.)

The Court of Appeals denied Defendants’ Rule 23(f) petition for an interlocutory appeal of the

decision. Sanderson Farms Inc. v. Amory Investments LLC, No. 22-8007 (7th Cir. Jul. 18, 2022).




Purchaser Plaintiffs’ Motion for Award of Attorneys’ Fees, Reimbursement Litigation Expenses,
and Class Representative Service Awards (“Bruckner Decl.”).) As in the Court’s prior fee award
(ECF No. 5229), Co-Lead Counsel propose that they will have discretion to allocate an award of
attorneys’ fees among Direct Purchaser Plaintiffs’ Counsel. Co-Lead Class Counsel’s good-faith
determination will reflect each individual Class Counsel’s contribution to the commencement,
prosecution, and resolution of the litigation.

                                                 2
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 11 of 38 PageID #:635427




       B.      DPPs Opposed Defendants’ Motions for Summary Judgment and Largely
               Defeated the Challenges

       Even after class certification, the DPP Class continued to face significant risks, including

at summary judgment. After voluminous briefing and two full days of hearings, the Court denied

summary judgment for several Defendants, but granted summary judgment for Defendants Agri

Stats, Case, Fieldale, Foster Farms, Claxton, Perdue, and Wayne Farms, as well as all Plaintiffs’

claims regarding the manipulation of the Georgia Dock. (ECF No. 6641.) Defendants’ concurrent

Daubert challenges to DPPs’ trial expert were hotly contested and ultimately denied. (Id.)

       C.      DPPs Tried the Case Against Defendant Sanderson Farms

       The DPP Class eventually proceeded to trial against Sanderson Farms, the only Defendant

who did not settle or obtain summary judgment. (See Bruckner Decl. ¶ 10.) DPPs assembled a trial

team of skilled attorneys and support staff. In the weeks and months leading up to the September

2023 trial, Class Counsel worked tirelessly to prepare, including mock trials, legal research to

support trial strategies, negotiating the jury instructions and verdict form, appearing at each

hearing, and meeting and conferring with counsel for Sanderson Farms regarding trial exhibits.

(Id.) Once preparation was complete, the trial team worked to present DPPs’ case to the jury in the

most efficient and effective way possible. (Id.) After a 6-week trial, the jury returned a defense

verdict for Sanderson Farms. (ECF No. 7015.)

       D.      Co-Lead Class Counsel Secured Over $284 Million in Settlements

       DPPs reached monetary settlements with thirteen Defendant families: Fieldale, Peco,

George’s, Amick, Pilgrim’s Pride, Tyson, Mar Jac, Harrison Poultry, Simmons, Mountaire, O.K.

Foods, House of Raeford, and Koch. These settlements total $284,651,750 as follows (see

Bruckner Decl. ¶ 12):




                                                3
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 12 of 38 PageID #:635428




    Defendant Family       Settlement Amount Status
    Fieldale                        $2,250,000 Finally Approved (ECF No. 1414),
                                               Distributed to Qualified Claimants.
    Peco                            $4,964,600 Finally Approved (ECF No. 3944),
                                               Distributed to Qualified Claimants.
    George’s                        $4,097,000 Finally Approved (ECF No. 3944),
                                               Distributed to Qualified Claimants.
    Amick                           $3,950,000 Finally Approved (ECF No. 3945),
                                               Distributed to Qualified Claimants.
    Pilgrim’s                      $75,000,000 Finally Approved (ECF No. 4789),
                                               Distributed to Qualified Claimants.
    Tyson                          $79,340,000 Finally Approved (ECF No. 4789),
                                               Distributed to Qualified Claimants.
    Mar Jac                         $7,975,000 Finally Approved (ECF No. 5397),
                                               Pending Distribution.
    Harrison Poultry                $3,300,000 Finally Approved (ECF No. 5397),
                                               Pending Distribution.
    Simmons                         $8,018,991 Finally Approved (ECF No. 7085),
                                               Pending Distribution.4
    Mountaire                      $15,899,826 Finally Approved (ECF No. 7087),
                                               Pending Distribution.
    O.K. Foods                      $4,856,333 Finally Approved (ECF No. 7088),
                                               Pending Distribution.
    House of Raeford               $27,500,000 Preliminarily Approved (ECF No. 7070).5
    Koch                           $47,500,000 Preliminarily Approved (ECF No. 7070).5
    Total                         $284,651,750

In addition to the monetary component, each of these settlements contained cooperation provisions

that assisted the DPPs throughout the litigation of the case and at trial. (See Bruckner Decl. ¶ 14.)

       As to the seven Defendants remaining in the DPP case, in June 2023 the Court entered

summary judgment in favor of six of them (ECF No. 6641), and the DPP Class’s trial against the

remaining Defendant, Sanderson Farms, resulted in a jury verdict in October 2023 in Sanderson

Farms’ favor (ECF No. 7015). As prevailing parties those seven Defendants could seek to tax


   4
    The Certain Restaurant DAPs have appealed final approval of the Simmons settlement to the
Court of Appeals. (See Bruckner Decl. ¶ 15.)
   5
     The settlements with HRF and Koch have been preliminarily approved by the Court and the
notice plan for these settlements is in progress. Co-Lead Class Counsel will report to the Court
regarding any objections prior to the hearing on this motion, which is set to be held concurrently
with the final approval hearing for those settlements, as well as the cost waiver settlements.

                                                 4
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 13 of 38 PageID #:635429




certain litigation costs against the DPP Class if summary judgment or the jury verdict (as the case

may be) was upheld in post-trial proceedings or on appeal. To eliminate this risk and to facilitate

the prompt distribution of the net settlement funds to qualified DPP Class members, the DPP Class

entered into settlements with those seven Defendants: Foster Farms, Perdue, Case, Claxton, Wayne

Farms, Agri Stats, and Sanderson Farms. (See Bruckner Decl. ¶ 16.) Under the settlements, DPPs

and each settling Defendant mutually agreed to waive all rights to appeal or otherwise further

adjudicate their claims against the other, and in exchange each party agreed not to seek or assert

any claim for costs, fees, attorney’s fees or any other form of recovery against the other. (Id.) As

such, none of the attorneys’ fees, litigation expenses, or Class Representative service awards being

sought in this motion are being funded from these seven settlements.

       E.      The Court Approved DPPs’ Request for Interim Payment of Attorneys’ Fees,
               Reimbursement of Litigation Expenses, and Class Representative Service
               Awards

       Following the settlements with Defendants Fieldale, Peco, George’s, Amick, Pilgrim’s,

and Tyson, which totaled $169,601,600.00, in 2021 DPPs requested and this Court approved an

interim payment of attorneys’ fees at 33 1/3% net of costs ($55,008,866.67), reimbursement of

litigation expenses totaling $4.5 million, and Class Representative service awards of $15,000.00

each ($75,000.00 total). (See ECF No. 5229, December 1, 2021.) In December 2023, this Court

awarded a second interim reimbursement of litigation expenses totaling $4,469,346.65 paid pro

rata from the Mar Jac, Harrison Poultry, Simmons6, Mountaire, and O.K. Foods settlements. (See

ECF No. 7086.) There were no objections to either motion. (See ECF No. 5229.)


   6
      The Court’s Order granting DPPs’ second interim request for reimbursement of litigation
expenses set forth the pro rata amount of litigation expenses applicable to each of the settlements.
(See ECF No. 7086.) Because the Simmons settlement is subject to the Certain Restaurant DAPs’
appeal, the litigation expenses attributable to the Simmons settlement ($894,869.32) have not been
paid, but are being held in an interest-bearing escrow account pending resolution of the appeal.
(See Bruckner Decl. ¶ 15.)

                                                 5
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 14 of 38 PageID #:635430




       F.      The First Distribution was Successful and Over $108 Million was Paid to
               Qualified Claimants

       During the first five years of this litigation, the DPPs amassed $169,601,600.00 in

settlements with Defendants Fieldale, Peco, George’s, Amick, Pilgrim’s, and Tyson. The net

settlement fund available to qualified claimants was $108,723,999.79, which resulted from the

addition of accrued interest and minus (i) the costs of settlement administration and escrow, and

(ii) the attorneys’ fees, litigation expenses, and class representative service awards already

distributed to Class Counsel (see ECF No. 5229). Following the Court’s Order Approving a Plan

of Distribution (ECF No. 5434), the DPP Claims Administrator sent pro rata payments to each

qualified claimant. The first distribution was highly successful, with over 95 percent of the money

being successfully delivered to qualified claimants and only a small portion earmarked for

redistribution with the recent monetary settlements.

       G.      The DPP Class Members Have Adequate Notice and Opportunity to be Heard
               Regarding this Motion

       All DPP Class members will have notice and an opportunity to be heard on this motion.

On April 1, 2024, in the Court-approved notice,7 Class Counsel informed all DPP Class members

that they would seek (1) an award of attorneys’ fees in an amount not to exceed 33 1/3% of the

Mar Jac, Harrison Poultry, Simmons, Mountaire, O.K. Foods, HRF, and Koch settlement proceeds

plus interest, net of costs; (2) up to $4 million in reimbursement of litigation expenses; (3) payment

of up to $250,000 for ongoing and future litigation expenses; and (4) Class Representative service

awards not to exceed $15,000 per Class Representative. (See ECF No. 7174-2, Court-approved

long form notice.) As DPP Class members also were informed, this motion will be posted on the

case website, https://www.broilerchickenantitrustlitigation.com, contemporaneously with its


   7
     Notice of this motion and the limits of Class Counsel’s requests were provided in conjunction
with preliminary approval of the settlements with the prevailing defendants. (See ECF No. 7179.)

                                                  6
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 15 of 38 PageID #:635431




filing. Class Counsel also informed DPP Class members that the Court will determine the amount

of the attorneys’ fees and litigation expenses to be paid to Class Counsel and any service awards

to the Class Representatives. Finally, DPP Class members were told that they may object to any

aspect of this motion, and the deadline (June 1, 2024) and procedures to do so. (Id.)

III.       CALCULATION OF THE NET SETTLEMENT FUND

           The Net Settlement Fund on which the DPPs propose Class Counsel’s fee request should

be based is calculated as follows:

                                                         Amount                 Reference
 Mar Jac Settlement Fund                                $7,975,000.00       ECF No. 5397
 Harrison Poultry Settlement Fund                       $3,300,000.00       ECF No. 5397
 Simmons Settlement Fund                                $8,018,991.00       ECF No. 7085
 Mountaire Settlement Fund                             $15,899,826.00       ECF No. 7087
 O.K. Foods Settlement Fund                             $4,856,333.00       ECF No. 7088
 House of Raeford Settlement Fund                      $27,500,000.00       ECF No. 70708
 Koch Settlement Fund                                  $47,500,000.00       ECF No. 70708
 Total of Settlements at Issue                        $115,050,150.00
 Interest Earned on the Settlements at Issue9           $2,975,355.20       Bruckner Decl. ¶ 13
 Litigation Expenses paid by the Settlements at Issue ($6,010,950.20)       See Section V below
 Requested Future Litigation Expenses                   ($100,000.00)       See Section V below
 Requested Class Representative Service Awards           ($75,000.00)       See Section VI below
 Net Settlement Fund                                  $111,839,555.00

           As the Court is aware, the Court’s final approval of the Simmons settlement currently is

on appeal by Certain Restaurant DAPs, who have indicated that they also intend to object to the

order granting final approval of the Koch and Raeford settlements. (See ECF No. 7040 at 1.) While

Class Counsel have included these three settlements – Simmons, Koch, and Raeford – in their

calculation of the funds upon which attorneys’ fees and litigation expenses would be awarded,



       8
      The HRF and Koch settlements are included assuming final approval. If for any reason these
settlements are not approved, or their approval is appealed, Class Counsel will update this chart.
       9
      In April 2022, this Court awarded the Commercial and Institutional Indirect Purchaser
Plaintiffs class a 33 1/3% fee including interest earned on the settlement amounts. (See ECF No.
5543 at 3.) DPPs propose the same methodology be used here.

                                                  7
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 16 of 38 PageID #:635432




Class Counsel will not take any fees or expenses until they are finally approved and any appeals

are resolved in favor of the DPP Class. DPPs will present the Court with an updated accounting

regarding the attorneys’ fees (because interest continues to accrue) for the Court’s approval shortly

after any and all appeals are resolved. (See Bruckner Decl. ¶ 15.)

IV.    THE REQUESTED FEE AWARD IS APPROPRIATE UNDER CONTROLLING
       LAW

       A.      DPPs Seek a Percentage of the Settlement Fund as an Award of Fees

       Rule 23 permits the Court to award reasonable attorneys’ fees and expenses in class actions.

Fed. R. Civ. P. 23(h). When a party obtains compensation for the class’s benefit in the form of a

common fund, courts have long recognized that the costs of the litigation, including an award of

attorneys’ fees, should be recovered from that common fund. Boeing Co. v. Van Gemert, 444 U.S.

472, 478 (1980); Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 392 (1970). This approach equitably

apportions the costs of litigation, including attorneys’ fees, among the class members who benefit

from the common fund. Boeing Co., 444 U.S. at 478.

       The Seventh Circuit has repeatedly endorsed the percentage-of-the-fund methodology. See

Gaskill v. Gordon, 160 F.3d 361, 363 (7th Cir. 1998) (collecting cases) (“When a class suit

produces a fund for the class, it is commonplace to award the lawyers for the class a percentage of

the fund, in recognition of the fact that most suits for damages in this country are handled on the

plaintiffs’ side on a contingent-fee basis.”); Williams v. Gen. Elec. Cap. Auto Lease, No. 1:94-cv-

07410, 1995 WL 765266, at *9 (N.D. Ill. Dec. 26, 1995) (collecting cases) (“The approach favored

in the Seventh Circuit is to compute attorney’s fees as a percentage of the benefit conferred on the

class.”); see also Williams v. Rohm & Haas Pension Plan (“Rohm & Haas II”), 658 F.3d 629, 635-

36 (7th Cir. 2011); Montgomery v. Aetna Plywood, Inc., 231 F.3d 399, 408 (7th Cir. 2000); Hale

v. State Farm Mut. Auto. Ins. Co., No. 3:12-cv-00660, 2018 WL 6606079, at *7 (S.D. Ill. Dec. 16,



                                                 8
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 17 of 38 PageID #:635433




2018); Heekin v. Anthem, Inc., No. 1:05-cv-01908, 2012 WL 5878032, at *2 (S.D. Ind. Nov. 20,

2012); In re Northfield Lab., Inc. Secs. Litig., No. 1:06-cv-01493, 2012 WL 2458445, at *3 (N.D.

Ill. June 26, 2012). The percentage-of-the-fund method utilizes an ex ante approach, in which

courts award a fee approximating a hypothetical ex ante bargain between the class and its attorneys.

Americana Art China Co., Inc. v. Foxfire Printing and Packaging, Inc., 743 F.3d 243, 246-47 (7th

Cir. 2014); Rohm & Haas II, 658 F.3d at 635.

        To determine the reasonableness of attorney’s fees in a common fund case such as this,

“courts must do their best to award counsel the ‘market price’ for the legal services” they provided.

Sutton v. Bernard, 504 F.3d 688, 692 (7th Cir. 2007); see also Silverman v. Motorola Sols., Inc.,

739 F.3d 956, 957 (7th Cir. 2013) (“[A]ttorneys’ fees in class actions should approximate the

market rate that prevails between willing buyers and willing sellers of legal services.”). A

contingent fee based on a percentage of the recovery is the most common form of compensation

for counsel representing classes in class action litigation. Similarly, in antitrust class action

litigation, “the ‘market price for legal services, in light of the risk of nonpayment and the normal

rate of compensation in the market at the time’ is a contingent fee in the amount of one-third (1/3)

of the common fund recovered.” In re Ready-Mixed Concrete Antitrust Litig., No. 1:05-cv-00979,

2010 WL 3282591, at *3 (S.D. Ind. Aug. 17, 2010) (citing Sutton, 504 F.3d at 692); In re Dairy

Farmers of Am., Inc., 80 F. Supp. 3d 838, 862 (N.D. Ill. 2015); In re Lithotripsy Antitrust Litig.,

No. 1:98-cv-08394, 2000 WL 765086, at *2 (N.D. Ill. June 12, 2000) (emphasis in original) (noting

that “[m]any courts in this district have utilized” the percentage method to set fees in class actions);

Kirchoff v. Flynn, 786 F.2d 320, 324 (7th Cir. 1986) (“When the ‘prevailing’ method of

compensating lawyers for ‘similar services’ is the contingent fee, then the contingent fee is the

‘market rate.’”).




                                                   9
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 18 of 38 PageID #:635434




       The percentage-of-the-fund method also conserves judicial resources. Unlike a lodestar-

based calculation, percentage fees not only are directly related to class counsel’s success, they are

simple to calculate and are not subject to manipulation by counsel. Courts are not forced to review

years of bills or scrutinize each decision made by counsel during a complex, multi-year case. See

Florin v. Nationsbank of Ga., N.A., 34 F.3d 560, 565 (7th Cir. 1994) (noting “there are advantages

to utilizing the percentage method in common fund cases because of its relative simplicity of

administration.”); Gaskill v. Gordon (“Gaskill I”), 942 F. Supp. 382, 386 (N.D. Ill. 1996) (citing

Hensley v. Eckerhart, 461 U.S. 424, 437 (1983) (observing that “the percentage of the fund method

saves the court the time it would have to spend reviewing eight years of billing documents.”).

Instead, compensation is based on the level of class counsel’s success, as it would be in a similar

contingency case on behalf of a private party. The percentage-of-the-fund method also allows a

court to “dispose of [the] last issue in [] prolonged proceedings as expeditiously as possible.”

Gaskill I, 942 F. Supp. at 386. (quoting Sec. & Exch. Comm’n v. First Secs. Co. of Chicago, 528

F.2d 449, 454 (7th Cir. 1976)).

       The Seventh Circuit permits courts to consider four factors to determine the “market rate”

in a case such as this: (1) the actual agreements between the parties, as well as fee agreements

reached by entities in the market for legal services; (2) the risk of non-payment at the outset of the

case; (3) the caliber of class counsel’s performance; and (4) information from other cases,

including fees awarded in comparable cases. Hale, 2018 WL 6606079, at *1, *8 (citing In re

Synthroid Mktg. Litig., 264 F.3d 712, 719 (7th Cir. 2001)). As this Court held in approving the

DPP’s previous request for attorneys’ fees, these considerations weigh heavily in favor of the Court

granting DPPs’ request.




                                                 10
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 19 of 38 PageID #:635435




                1.      Plaintiffs’ Requested Fee is an Appropriate Market-Based Fee

        A fee award of 33 1/3% in this case reflects a hypothetical real-world arm’s length

transaction between the DPP Class and Class Counsel, and is a generally accepted percentage in

the Seventh Circuit. In re Dairy Farmers, 80 F. Supp. 3d at 846; In re Lithotripsy, 2000 WL

765086, at *2. This Court held the same when it previously awarded DPPs an interim fee: “There

is simply little to no precedent recommending anything other than an award of 33 percent.

With the only real evidence of the “market rate” being one-third, that is what the Court will

award.” (ECF No. 5229 at 10 (emphasis added).) The requested fee award is justified by the

remarkable results obtained for the DPP Class and the risks faced by Class Counsel, and is well

within the acceptable range of attorneys’ fee awards in protracted, complex, and expensive

litigation such as this. (See generally Id.)

        Thirty-three and one-third percent is a standard percentage in many fee agreements,

including large, complex non-class cases. See Lester Brickman, ABA Regulation of Contingency

Fees: Money Talks, Ethics Walks, 65 FORDHAM L. REV. 247, 248 (1996) (noting that “standard

contingency fees” are “usually thirty-three percent to forty percent of gross recoveries”); see also

Blum v. Stenson, 465 U.S. 886, 903 (1984) (“In tort suits, an attorney might receive one-third of

whatever amount the plaintiff recovers. In those cases, therefore, the fee is directly proportional to

the recovery.”).

        Courts in the Seventh Circuit routinely award contingency fees of 33 1/3% or more. E.g.,

In re Dairy Farmers, 80 F. Supp. 3d at 862 (awarding one-third of the common fund); In re Potash

Antitrust Litig., No. 1:08-cv-06910 (ECF No. 589) (N.D. Ill. June 12, 2013) (ECF No. 4552-2 at

189-192) (awarding fees of one-third of $90 million fund, plus $791,124.63 in expenses); Heekin,

2012 WL 5878032, at *5 (awarding one-third fee of $90 million fund, plus $6,243,278.10 in

expenses); Pavlik v. FDIC, No. 1:10-cv-00816, 2011 WL 5184445, at *4 (N.D. Ill. Nov. 1, 2011)


                                                 11
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 20 of 38 PageID #:635436




(one-third fee); In re Lithotripsy, 2000 WL 765086, at *2 (“33.3% of the fund plus expenses is

well within the generally accepted range of the attorneys’ fee awards”); Goldsmith v. Tech. Sols.

Co., No. 1:92-cv-04374, 1995 WL 17009594, at *8 (N.D. Ill. Oct. 10, 1995) (citing Matter of

Cont’l Illinois Sec. Litig., 962 F.2d 566, 572 (7th Cir. 1992), as amended on denial of reh’g (May

22, 1992)) (“Thirty three percent appears to be in line with what attorneys are able to command on

the open market in arms-length negotiations with their clients.”); Schulte v. Fifth Third Bank, 805

F. Supp. 2d 560, 597 (N.D. Ill. 2011) (one-third fee); Retsky Family Ltd. Partnership v. Price

Waterhouse LLP, No. 1:97-cv-07694, 2001 WL 1568856, at *4 (N.D. Ill. Dec. 10, 2001) (“A

customary contingency fee would range from 33 1/3% to 40% of the amount recovered.”); Martin

v. Caterpillar Inc., No. 1:07-cv-01009, 2010 WL 11614985, at *4 (C.D. Ill. Sept. 10, 2010) (one-

third fee); Kitson v. Bank of Edwardsville, No. 3:08-cv-00507, 2010 WL 331730, at *2 (S.D. Ill.

Jan. 25, 2010) (one-third fee); Will v. Gen. Dynamics Corp., No. 3:06-cv-00698, 2010 WL

4818174, at *3 (S.D. Ill. Nov. 22, 2010) (one-third fee); Burkholder v. City of Ft. Wayne, 750 F.

Supp. 2d 990, 997 (N.D. Ind. 2010) (one-third fee); Campbell v. Advantage Sales & Mktg. LLC,

No. 1:09-cv-01430, 2012 WL 1424417, at *2 (S.D. Ind. Apr. 24, 2012) (one-third fee); In re

Ready-Mixed Concrete, 2010 WL 3282591, at *3 (one-third fee).

       Public policy also favors an attorneys’ fee award at the market rate. The Supreme Court

has repeatedly held that private enforcement of antitrust laws is essential to effective antitrust

enforcement. See, e.g., Blue Shield of Va. v. McCready, 457 U.S. 465, 472 (1982); Zenith Radio

Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 130-31 (1969). And a market-rate fee award

incentivizes competent, experienced counsel to take on high-risk, complex class action litigation.

       Here, the retainer agreements between Class Counsel and the named plaintiffs do not

specify the amount of attorneys’ fees, but simply say that counsel would receive as fees a

percentage of any recovery as awarded by the Court. (Bruckner Decl. ¶ 18; see also ECF No. 5229

                                                12
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 21 of 38 PageID #:635437




at 4.) Following Court-approved notice of DPPs’ interim fee request in February 2021 (see ECF

No. 4341), no Class member objected to the interim fee request. “Courts have found that the lack

of opposition by sophisticated business entities is evidence that the award is reasonable.” (ECF

No. 5229 (citing Silverman, 739 F.3d at 959 (holding that for large, sophisticated investors, it

would be “worth a complaint to the district judge if the lawyers’ cut seems too high. Yet none of

the institutional investors has protested.”), and In re Dairy Farmers, 80 F. Supp. 3d at 847)

(observing, in finding that the requested one-third fee award was reasonable, that “the plaintiffs

here are sizable, sophisticated entities capable of reviewing (and objecting to) the proposed fee

arrangement”).) As the fee request here is consistent with the actual agreement with the named

plaintiffs and no DPP objected to the previous fee request, DPPs submit that the present request is

appropriate.

               2.      The Case Presented Substantial Litigation Risk From Inception
                       Through Trial, and the Early Settlements and Prevailing at the
                       Pleading Stage Did Not Guarantee Success or Alleviate Class Counsel’s
                       Risk

       A material consideration in determining an appropriate fee is the risk of nonpayment. See

Silverman, 739 F.3d at 958; In re Synthroid, 264 F.3d at 718. “The lawyers for the class receive

no fee if the suit fails.” Cont’l Illinois, 962 F.2d at 568. “Contingent fees compensate lawyers for

the risk of nonpayment. The greater the risk of walking away empty-handed, the higher the award

must be to attract competent and energetic counsel.” Silverman, 739 F.3d at 958 (citing Kirchoff,

786 F.2d at 320).

       To determine a fee award in a class action settlement, a court must assess counsel’s risk of

taking a particular case and the probability of success as it existed “at the outset of the litigation.”

Florin, 34 F.3d at 565. Therefore, a court must do its best to estimate the terms of the contract that




                                                  13
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 22 of 38 PageID #:635438




private plaintiffs would have negotiated with their lawyers at the outset of the case, when the risk

of loss still existed, rather than at the end of a successful case:

                The best time to determine this rate is the beginning of the case, not
                the end (when hindsight alters the perception of the suit’s riskiness,
                and sunk costs make it impossible for the lawyers to walk away if
                the fee is too low). This is what happens in actual markets.

In re Synthroid, 264 F.3d at 718 (emphasis added); see also In re Capital One Telephone Consumer

Protection Act Litig., 80 F. Supp. 3d 781, 788-89 (N.D. Ill. 2015) (the probability of success at the

outset of litigation helps determine the reasonableness of the fee).

        As discussed below, throughout the lengthy duration of this case Class Counsel faced a

significant risk of nonpayment. DPPs alleged a price-fixing conspiracy by the United States’

leading Broiler chicken producers and claimed that they and the Class paid significant overcharges

as a result. Class Counsel conceived and brought this case without the benefit of any related

government investigation or enforcement action. (Bruckner Decl. ¶ 4.) Indeed, only after DPPs

had prosecuted this case for two-and-a-half years did the DOJ convene grand jury proceedings.

And then, the first step the DOJ took was to subpoena DPP Co-Lead Counsel for the extensive

discovery record Class Counsel had amassed from Defendants and third parties, after which the

DOJ moved to intervene in this case. (Bruckner Decl. ¶ 4; ECF No. 2302.) Class Counsel believed

in DPPs’ case, invested extensive amounts of their time, effort, and money, and prosecuted it

vigorously. Class Counsel did so at the risk of no recovery and declined other opportunities

because of the complexity, time, and expense this case demanded. (Bruckner Decl. ¶ 4.)

        While this Court awarded an interim payment of attorneys’ fees and reimbursement of

litigation expenses in December 2021 (ECF No. 5229), there was no guarantee of such a recovery

at the outset of the litigation. Even after reaching an initial settlement with Fieldale, Class Counsel

had to invest significant amounts of time and money to continue to prosecute the case and secure



                                                   14
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 23 of 38 PageID #:635439




additional settlements. This post interim payment phase of the case included hotly contested class

certification and summary judgment motions (which exceeded 2,000 pages of briefing), as well as

the herculean effort that went into the trial, were never certain victories and required tens of

thousands of hours and millions of dollars in expenses. (Bruckner Decl. ¶¶ 8-10.) As demonstrated

by the fact that six Defendants prevailed on their motions for summary judgment and DPPs did

not prevail at trial against Sanderson Farms, there was no guaranty of success during this second

phase of the case.

       In the face of these risks, Class Counsel have achieved significant recoveries on behalf of

the DPP Class. (Bruckner Decl. ¶¶ 11-14, 16.) An overview of the relevant factors courts consider

when evaluating risk is provided below.

                              (a)     Antitrust Class Actions are Inherently Risky

       In a study analyzing class actions against insurers, only 12% of 564 attempted class actions

led to a class settlement. Theodore Eisenberg & Geoffrey P. Miller, Attorneys’ Fees and Expenses

in Class Action Settlements: 1993-2008, 7 J. EMPIR. L. STUD. 248, at 24 (2010) (citing Nicholas

M. Pace, Stephen J. Carroll, Ingo Vogelsang, & Laura Zakaras, Insurance Class Actions in the

United States, 47 tbl.3.16 (2007)). Antitrust class actions are riskier still, due in part to their

unpredictable nature, as well as the tremendous time and expense required to successfully resolve

them. In re Cathode Ray Tube (CRT) Antitrust Litig., MDL No. 1917, 2016 WL 721680, at *17

(N.D. Cal. Jan. 28, 2016) (quoting In re NASDAQ Mkt-Makers Antitrust Litig., 187 F.R.D. 465,

475 (S.D.N.Y. 1998)); see In re Cardizem CD Antitrust Litig., 218 F.R.D. 508, 530 (E.D. Mich.

2003) (emphasizing a strong public interest in encouraging settlement of complex, class-action

lawsuits because they are “notoriously difficult and unpredictable” and settlement preserves

judicial resources). “The ‘best’ case can be lost and the ‘worst’ case can be won, and juries may




                                                15
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 24 of 38 PageID #:635440




find liability but no damages. None of these risks should be underestimated.” Matter of Superior

Beverage/Glass Container Consol. Pretrial, 133 F.R.D. 119, 127 (N.D. Ill. 1990).

       Here, the risks were extremely high. DPPs alleged a nationwide conspiracy to fix, raise,

maintain, and stabilize the price of Broilers—the nation’s most popular meat product. While

Fieldale settled prior to November 2017 when the Court denied Defendants’ motions to dismiss

DPPs’ complaint (ECF No. 541), other Defendants continued to aggressively litigate the case,

fighting DPPs on their motion to certify the DPP Class and on the merits at summary judgment

and trial. In the face of these risks, Class Counsel vigorously represented DPPs and obtained a

substantial recovery for the Class.

                              (b)     Class Counsel Faced Complex Issues

       Investigating and proving an unlawful conspiracy is difficult, especially when not derived

from a related criminal investigation. In re Linerboard Antitrust Litig., No. 2:98-cv-05055, 2004

WL 1221350, at *10 (E.D. Pa. June 2, 2004), amended, 2004 WL 1240775 (June 4, 2004)

(observing that “an antitrust class action is arguably the most complex action to prosecute.”). DPPs

allege that Defendants conspired to artificially inflate prices by, among other things, suppressing

production. Defendants spared no effort in challenging DPPs’ allegations. They argued that DPPs’

claims were conjectural and implausible under Twombly, that DPPs did not allege facts showing

that Defendants acted in parallel to reduce output or to raise prices for Broilers, and that their

parallel production and pricing decisions were the result of legitimate market forces. (ECF Nos.

274-298; 360; 363-373; 471.) After extensive briefing, the Court denied each of Defendants’

motions to dismiss. (Id.; see also ECF Nos. 343-345; 440; 541.)

       DPPs then turned to litigating the case against 20 Defendants. Discovery has involved more

than 200 document custodians, more than 8 million documents and communications, millions of

telephone calls and messages, many third parties, and the depositions of hundreds of fact witnesses.


                                                16
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 25 of 38 PageID #:635441




(Bruckner Decl. ¶ 5.) Class Counsel took the lead in coordinating this discovery with Defendants,

two other classes, and nearly 100 Direct Action Plaintiffs. Plaintiffs and Class Counsel also

fulfilled their own discovery obligations, in response to fulsome discovery by Defendants. (Id.)

        Once discovery was underway, DPPs begin preparing and briefing their motion for class

certification. This process involved numerous attorneys and staff to craft the factual and legal bases

for the motion. Once DPPs filed their motion in Fall 2020, Defendants marshalled the full force of

their top-tier law firms in opposition. Like their motions to dismiss, Defendants challenged each

and every aspect of the DPPs’ case factually, procedurally, and legally. Defendants presented their

own experts to bolster their arguments and discredit DPPs’. Once briefing was complete nearly 18

months later, the Court held a two-day hearing in May 2022 on the motion, including expert

testimony. Ultimately, the Court certified the DPP Class (ECF No. 5644) and the Court of Appeals

denied Defendants’ Rule 23(f) petition for an interlocutory appeal. Sanderson Farms Inc. v. Amory

Investments LLC, No. 22-8007 (7th Cir. Jul. 18, 2022).

        Class certification did not ameliorate the complexity of the case. Over the next 15 months,

Defendants’ motions for summary judgment and Daubert challenges to DPPs’ expert were briefed

and decided. These motions required Class Counsel’s massive investment of time and money.

While Defendant’s Daubert challenges to DPPs’ trial expert were denied, six Defendants in DPPs’

case obtained summary judgment, thus creating a risk of litigation costs for the DPP Class. (ECF

No. 6641.)

        Once summary judgment was decided, Class Counsel prepared for trial against the five

then-remaining Defendants.10 Class Counsel’s trial work was extensive. Each and every attorney



   10
     Following summary judgment and before trial, four Defendants – Mountaire, O.K. Foods,
HRF, and Koch – settled. HRF and Koch settled only days before trial. By the time trial
commenced, only Sanderson Farms remained.

                                                 17
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 26 of 38 PageID #:635442




and staff member, whether they appeared in Court or supported the trial behind the scenes, was

essential. The complex issues of this case required countless hours of strategizing and coordinating

with other Track 1 plaintiffs (51 Direct Action Plaintiffs) to effectively and efficiently present the

case to the jury. Although the jury ultimately returned a verdict in favor of Sanderson Farms (ECF

No. 7015), this case is the rare instance of an antitrust class action going through trial.

                               (c)     Defendants Marshalled Tremendous Resources for Their
                                       Defense

       Not only did Class Counsel confront the inherent uncertainties of an antitrust class action

alleging a nationwide conspiracy, but they also faced some of the world’s wealthiest multinational

corporations, whose skilled and experienced legal counsel mounted a strong, united defense up

through settlement and, in Sanderson’s case, through trial. The fact that the nation’s top legal

counsel represented Defendants is an important factor in analyzing the value of Class Counsel’s

services. E.g., In re Schering-Plough Corp. Enhance Secs. Litig., No. 2:08-cv-02177, 2013 WL

5505744, at *25 (D.N.J. Oct. 1, 2013) (emphasizing the importance of evaluating the result in light

of the fact that the case was “litigated to the hilt by highly-experience [sic] and first-rate defense

counsel to the eve of trial”); In re Avandia Mktg., Sales Practices and Prods. Liab. Litig., MDL

No. 1871, 2012 WL 6923367, at *5 (E.D. Pa. Oct. 19, 2012) (collecting cases) (considering “the

performance and quality of opposing counsel” as a factor in awarding attorneys’ fees); In re Ins.

Brokerage Antitrust Litig., 282 F.R.D. 92, 121 (D.N.J. Mar. 30, 2012) (concluding the skill and

efficiency of the attorneys involved favored approval of attorneys’ fees in part because the settling

defendants were represented by experienced attorneys from prominent law firms); In re

WorldCom, Inc. Secs. Litig., 388 F. Supp. 2d 319, 357-58 (S.D.N.Y. 2005) (finding that counsel

“obtained remarkable settlements for the Class while facing formidable opposing counsel from

some of the best defense firms in the country.”); In re Warner Comm’ns. Secs. Litig., 618 F. Supp.



                                                  18
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 27 of 38 PageID #:635443




735, 749 (S.D.N.Y. 1985), aff’d, 798 F.2d 35 (2d Cir. 1986) (“The quality of opposing counsel is

also important in evaluating the quality of plaintiffs’ counsels’ work.”); Arenson, et al. v. Bd. of

Trade of City of Chicago, 372 F. Supp. 1349, 1354 (N.D. Ill. 1974) (noting that the quality, vigor,

and prior success of opposing counsel is an important factor when assessing the quality of work

performed by plaintiffs’ counsel).

        The resources available to opposing parties are also significant when considering the

gravity of the risk class counsel faced. See Brewer v. S. Union Co., 607 F. Supp. 1511, 1531 (D.

Colo. 1984); Trist v. First Fed. Savings & Loan Ass’n of Chester, 89 F.R.D. 8, 13 (E.D. Pa. 1980).

In Brewer, the court remarked that inequality of resources available to the parties greatly increases

the risk to class counsel. Brewer, 607 F. Supp. at 1531. That inequality was prominent here;

available resources vastly favored Defendants, who are among the world’s largest and wealthiest

businesses. The DPP Class, meanwhile, was represented by small regional distributors who

purchased Broilers, and their lawsuit was funded and prosecuted by Class Counsel with the hope

of a successful result for the Class.

               3.      Class Counsel Dedicated Enormous Resources to this Matter and
                       Faced Significant Risks to Successfully Resolve this Case

        Class Counsel have dedicated tremendous time, effort, and capital to this litigation, and

they have done so entirely on a contingent basis, even after the Court’s order granting the interim

attorneys’ fee award in December 2021. Since January 1, 2021, Class Counsel have invested

53,880.80 hours of attorney and other legal professional time through January 31, 2024 (Co-Lead

Class Counsel through March 31, 2024).11 (Bruckner Decl. ¶ 29.) In total, from case inception

through January 31, 2024 (Co-Lead Class Counsel through March 31, 2024), Class Counsel have


   11
        Class Counsel have limited the time period of their reported time and lodestar for the purpose
of this motion. They will continue to dedicate significant time and resources to the litigation until
it is resolved.

                                                 19
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 28 of 38 PageID #:635444




invested 154,507.66 hours of attorney and other legal professional time. (Bruckner Decl. ¶ 29.)

Co-Lead Class Counsel have worked diligently to ensure that throughout the case, Class Counsel’s

efforts have been coordinated, detailed, vigorous, and efficient. (Bruckner Decl. ¶ 29.) The result

of these efforts is a substantial recovery for the DPPs: settlements totaling over $284 million.

       In addition to the recent major litigation outcomes described in Section II above, Class

Counsel efficiently and effectively litigated this case from the outset:

       •   DPP Co-Lead Class Counsel filed the first antitrust complaint on behalf of Broiler

           chicken purchasers in September 2016. This complaint was the product of DPP Co-

           Lead Class Counsel’s extensive preparation, independent investigation, and research

           into the Broiler chicken industry. There were no prior or contemporaneous government

           investigations or enforcement proceedings; instead, the U.S. Department of Justice’s

           (“DOJ”) related investigation and criminal proceedings followed this civil litigation.

           Class Counsel prepared and filed multiple amended and consolidated complaints

           reflecting information Class Counsel obtained from additional investigation and

           discovery. (Bruckner Decl. ¶ 4.)

       •   Class Counsel developed numerous case management plans and coordinated with

           indirect purchaser class counsel, direct action plaintiffs, the DOJ, and Defendants to

           implement those plans. (Bruckner Decl. ¶ 6.)

       •   Class Counsel prepared and filed comprehensive memoranda of law: (a) in opposing

           Defendants’ motions to dismiss, (b) regarding numerous discovery issues, (c) in

           support of class certification, including expert reports and other exhibits, (d) in

           opposing Defendants’ motions for summary judgment and motion to exclude DPPs’

           expert, (e) supporting motions related to trial, and (f) seeking preliminary and final

           approval of many settlements. (See, e.g., Bruckner Decl. ¶¶ 5, 8, 9.)

                                                 20
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 29 of 38 PageID #:635445




         •   Class Counsel conducted extensive fact and expert discovery, including preparing for

             and taking well over 100 Rule 30(b)(1), 30(b)(6), and expert depositions. Class Counsel

             reviewed, analyzed, and coded a database containing more than 8 million documents

             and other records from Defendants and third parties. (Bruckner Decl. ¶ 5.)

         •   Class Counsel consulted with experts during their pre-suit investigation, and during the

             discovery and merits phases of this case. This includes their agricultural economist Dr.

             Colin Carter, who prepared reports in support of class certification and the merits. Dr.

             Carter was subject to extensive briefing on Defendants’ Daubert motions, which the

             Court ultimately denied (see ECF No. 6641). (Bruckner Decl. ¶¶ 7, 8, 9.)

         •   Class Counsel engaged in extensive adversarial negotiations and mediations and

             ultimately negotiated settlements with all Defendants. (Bruckner Decl. ¶¶ 12, 16.)

         •   Co-Lead Class Counsel have prepared and executed the Court-approved class notice

             and settlement claims administration programs. (Bruckner Decl. ¶ 17.)

         Class Counsel will continue to vigorously litigate this case until complete. With respect to

the settlements, Class Counsel will seek final approval of the remaining settlements preliminarily

approved by this Court, supervise all aspects of settlement and claims administration, and

supervise the final distribution of settlement proceeds to qualified DPP claimants. Class Counsel

will vigorously litigate the pending appeal of final approval of the Simmons settlement and any

objections or appeals of other settlements. (Bruckner Decl. ¶ 15.)

         In addition to the 154,507.66 hours of attorney and other legal professional time invested

in this case, to date Class Counsel have incurred over $10 million in total expenses.12 (Bruckner

Decl. ¶ 31.) DPPs will continue to incur expenses until the case is completed. These expenses,



   12
        (See Section V below.)

                                                 21
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 30 of 38 PageID #:635446




discussed in detail below, were required to frame the complex issues of fact and law in the

pleadings, to defeat Defendants’ motions to dismiss, to effectively manage the case, to undertake

well-organized discovery of a complex antitrust case against enormous (and enormously wealthy)

business entities, to support class certification, to oppose Defendants’ motions for summary

judgment, and to try the case through verdict. (Bruckner Decl. ¶¶ 31-39.)

               4.      Comparable Cases Provide the Basis for this Request

       “Another relevant data point for the market price for attorneys’ fees is those awarded in

‘analogous class action settlements.’” Hale, 2018 WL 6606079 at *10 (“Courts within the Seventh

Circuit, and elsewhere, regularly award percentages of 33.33% or higher to counsel in class action

litigation.”); see also Taubenfeld v. AON Corp., 415 F.3d 597, 600 (7th Cir. 2005) (noting the

relevance of “attorneys’ fees from analogous class action settlements”); Kolinek v. Walgreen Co.,

311 F.R.D. 483 (N.D. Ill. 2015) (“Attorney’s fee awards in analogous class action settlements shed

light on the market rate for legal services in similar cases.”); Gaskill I, 160 F.3d 361, 363 (7th Cir.

1998) (collecting cases).

       As set forth is Section IV.A.1 above, in this instance DPPs’ requested fee is the market

rate, and this Court has awarded 33 1/3% in this case to DPPs and CIIPPs. (See ECF Nos. 5229

(awarding 33 1/3% to DPP Class Counsel and noting: “There is simply little to no precedent

recommending anything other than an award of 33 percent. With the only real evidence of the

“market rate” being one-third, that is what the Court will award.”); 5543 (awarding 33 1/3%

including interest to CIIPP Class Counsel).)

       B.      A Lodestar Cross-Check Confirms that the Fee Requested is Proper

       While the percentage-of-the-fund method is favored in the Seventh Circuit for calculating

fees in common fund cases, In re Dairy Farmers, 80 F. Supp. 3d at 844, courts may use a lodestar

cross-check to understand class counsel’s time and effort and determine the reasonableness of a


                                                  22
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 31 of 38 PageID #:635447




fee. Id. But this cross-check is not required. Rohm & Haas II, 658 F.3d at 636 (“[C]onsideration

of a lodestar check is not an issue of required methodology”); accord Leung v. XPO Logistics,

Inc., 326 F.R.D. 185, 204 (N.D. Ill. 2018) (“The Court is not required to check its percentage-of-

fee determination against the lodestar.”); Wright v. Nationstar Mortg. LLC, No. 1:14-cv-10457,

2016 WL 4505169, at *17 (N.D. Ill. Aug. 29, 2016) (noting that a lodestar cross-check is not

required); Heekin, 2012 WL 5878032, at *2 (criticizing a class member for “overstat[ing] the

importance of the lodestar method in this Circuit.”). In fact, “[t]he use of a lodestar cross-check

has fallen into disfavor.” George v. Kraft Foods Glob., Inc., Nos. 1:08-cv-03799; 1:07-cv-01713,

2012 WL 13089487, at *3 (N.D. Ill. June 26, 2012). And the Seventh Circuit has “never ordered

[a] district judge to ensure that the lodestar result mimics that of the percentage approach.” Cook

v. Niedert, 142 F.3d 1004, 1013 (7th Cir. 1998).

       The lodestar is derived by multiplying the hourly rate of the attorney or professional by the

number of hours reasonably expended. Wright, 2016 WL 4505169, at *14. A reasonable hourly

rate is one that is consistent with the common rate in the “community for similar services by

lawyers of reasonably comparable skill, experience and reputation.” See Jeffboat, LLC v. Dir.,

Office of Workers’ Comp. Progs., 553 F.3d 487, 489 (7th Cir. 2009); see also Denius v. Dunlap,

330 F.3d 919, 930 (7th Cir. 2003) (holding that the attorney’s billing rate for comparable work is

generally appropriate).

       The base lodestar is often augmented by a multiplier that considers factors that affect the

amount of the fees awarded. See Cook, 142 F.3d at 1015; Florin, 34 F.3d at 565; Skelton v. Gen.

Motors Corp., 860 F.2d 250, 255 (7th Cir. 1988). These include the complexity of the legal issues,

the degree of success, and the public interest advanced by the litigation. Paz v. Portfolio Recovery

Assocs., LLC, 924 F.3d 949, 954 (7th Cir. 2019); Gastineau v. Wright, 592 F.3d 747, 748 (7th Cir.




                                                23
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 32 of 38 PageID #:635448




2010). Also considered is the risk of non-payment. See Harman v. Lyphomed, Inc., 945 F.2d 969,

976 (7th Cir. 1991).

        A lodestar cross-check in this case supports the requested fee. Class Counsel’s base

lodestar using historical rates is $41,480,268.50 for January 1, 2021 through January 31, 2024 (Co-

Lead Class Counsel through March 31, 2024), and $92,393,630.25 since case inception.13 The

average hourly rate by Class Counsel and their associated professional staff is approximately $598

(with a cap of $350.00 per hour on document review (see Bruckner Decl. ¶ 29)), a rate comparable

to those charged by other law firms with similar experience, expertise, and reputation, for similar

services in the nation’s leading legal markets.

        Awarding a 33 1/3% fee as requested would result in a negative multiplier of 0.8987. See

In re TFT-LCD (Flat-Panel) Antitrust Litig., MDL 1827, 2013 WL 149692, at *1 (N.D. Cal. Apr.

3, 2013) (negative multiplier of 0.86 confirmed amount of attorneys’ fees requested was fair and

reasonable). Overall, considering the earlier fee award (at which time the multiplier was 1.114, see

ECF No. 4551 at 26), the multiplier equals 0.9989. Such a multiplier is well within accepted

ranges,14 and is warranted here.


   13
      Since the inception of this litigation Co-Lead Counsel have submitted Class Counsel’s
lodestar and expense information to the Court in camera on a quarterly basis and have further
reviewed it in preparing this motion. (Bruckner Decl. ¶¶ 30, 38.)
   14
      E.g., Cook, 142 F.3d at 1015 (upholding the district court’s decision to “enhance[] the
lodestar by a multiplier of 1.5”); Florin, 34 F.3d at 565 (“Because class counsel have requested a
multiplier of 1.53, the district court need not worry about exceeding what we have suggested is a
sensible ceiling of double the lodestar.”); Harman, 945 F.2d at 976 (internal citations omitted)
(observing that “[m]ultipliers anywhere between one and four have been approved.”); Skelton, 860
F.2d at 258 (suggesting “that a doubling of the lodestar would provide a sensible ceiling.”); In re
Dairy Farmers, 80 F. Supp. 3d at 849 (awarding a fee that equated to a multiplier of 1.34 on a
lodestar cross-check); Standard Iron Works v. ArcelorMittal, No. 1:08-cv-05214, 2014 WL
7781572, at *2 (N.D. Ill. Oct. 22, 2014) (finding that the requested lodestar multiplier of
approximately 1.97 was “well within the range of reasonable multipliers awarded in similar
contingent cases.”); Schulte, 805 F. Supp. 2d at 598 (approving an award that “represent[s] a
multiplier of less than 2.5, which is not an unreasonable risk multiplier.”); In re Lawnmower


                                                  24
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 33 of 38 PageID #:635449




V.     CLASS COUNSEL’S LITIGATION EXPENSES                              WERE       REASONABLY
       INCURRED AND SHOULD BE REIMBURSED

       Under the common fund doctrine, class counsel customarily are entitled to reimbursement

of reasonable expenses incurred in the litigation. Fed. R. Civ. P. 23(h); Mills, 396 U.S. at 392

(recognizing the right to reimbursement of expenses where a common fund has been produced or

preserved for the benefit of a class); Alba Conte, Attorney Fee Awards § 2.08, at 50-51 (3d ed.

2004). Reimbursable expenses are those “that are consistent with market rates and practices.” In

re Ready-Mixed Concrete, 2010 WL 3282591, at *3; see also In re Synthroid, 264 F.3d at 722

(“Reducing litigation expenses because they are higher than the private market would permit is

fine; reducing them because the district judge thinks costs too high in general is not.”).

       The litigation expenses in this case can be categorized into five categories: (1) expenses

paid by the common Litigation Fund; (2) expenses incurred individually by each firm (primarily

travel-related expenses); (3) administration expenses (authorized in each of the monetary

settlements and paid directly from the respective settlement fund to the Court-approved

administrator); (4) escrow fees; and (5) taxes. Expenses in each of these categories are described

in detail in the Bruckner Decl. ¶¶ 31-40 and its exhibits, and were reasonably necessary to advance

the interests of the DPP Class and to obtain the favorable results achieved. Due to the risk that they

might never be recovered, Class Counsel endeavored to keep expenses to a minimum.



Engine Horsepower Mktg. & Sales Practices Litig., 733 F. Supp. 2d 997, 1015 (E.D. Wis. 2010)
(awarding a fee that represented a multiplier of 2.07 on a lodestar cross-check and recognizing that
“the mean risk multiplier in cases involving class settlements comparable in size to the present
settlement is 2.70.”) (citing Theodore Eisenberg & Geoffrey P. Miller, Attorney Fees & Expenses
in Class Action Litigation: 1993–2008, 7 J. OF EMPIRICAL LEGAL STUD. 248, 274 tbl.15 (2010));
accord In re Hyundai and Kia Fuel Economy Litig., 926 F.3d 539, 572 (9th Cir. 2019) (affirming
lodestar multipliers of 1.5521 and 1.22 as “modest or in-line with others”); Kelly v. Wengler, 822
F.3d 1085, 1093, 1105 (9th Cir. 2016) (affirming lodestar multipliers of 2.0 and 1.3); Vizcaino v.
Microsoft Corp., 290 F.3d 1043, 1051 (9th Cir. 2002) (upholding a lodestar multiplier cross-check
showing a multiplier of 3.65).

                                                 25
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 34 of 38 PageID #:635450




         In total, Class Counsel have incurred over $10 million in expenses throughout this

litigation. (Bruckner Decl. ¶ 31.) This Court has previously approved reimbursement of expenses

totaling $8,969,346.65. (ECF Nos. 5229 ($4,500,000.00 reimbursement for litigation fund and

individual firm expenses), 7086 ($4,469,346.65 (reimbursement for litigation fund expenses from

the Mar Jac, Harrison, Simmons, Mountaire, and O.K. Foods settlements).) Presently, litigation

expenses totaling $1,029,448.7215 are unreimbursed. In notifying DPP Class members of the recent

settlements, Class Counsel informed DPP Class members that they would seek repayment of the

first two categories of litigation expenses in an amount not to exceed $4 million. (See ECF No.

7174-2, Court-approved long form notice.)

         In addition to the litigation expenses paid by Class Counsel, $407,720.15 has been paid to

administrators, $29,000.00 has been paid in escrow fees, and $75,434.68 has been paid in taxes

directly from the settlements at issue. (Bruckner Decl. ¶ 24.) As such, the expenses to be deducted

from the settlement recoveries at issue in calculating the net attorneys’ fee award equal

$6,010,950.20. (Bruckner Decl. ¶ 40.) Accordingly, DPPs respectfully request that the Court

approve these expenses and that the Court award reimbursement of litigation expenses in the

amount of $1,029,448.72 to be paid pro rata from the HRF and Koch settlement proceeds.16 As

set forth above, the Court previously approved an interim payment of expenses from the Mar Jac,

Harrison, Simmons, Mountaire, and O.K. Foods settlements. Accordingly, the DPPs are limiting

the source of the expenses sought in this motion to the HRF and Koch settlements.




   15
        $527,880.28 in individual firm expenses and $501,568.44 in litigation fund expenses.
   16
       While Class Counsel have included the Simmons, Koch, and HRF settlements in their
calculation of the funds upon which attorneys’ fees and litigation expenses would be awarded,
Class Counsel will not take any fees or expenses until they are finally approved and any appeals
are resolved in favor of the DPP Class.

                                                26
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 35 of 38 PageID #:635451




       Additionally, Class Counsel requests that the Court approve payment of $100,000.00 for

the payment of past unaccounted for and future litigation expenses, to be paid pro rata from the

HRF and Koch settlement proceeds.16 DPP Class members were provided notice of this request.

(See ECF No. 7174-2, Court-approved long form notice.) Many of the costs described above and

in the accompanying attorney declarations are not one-time expenses; they are ongoing and will

continue until the case is complete. (Bruckner Decl. ¶ 41.) Co-Lead Class Counsel will, of course,

endeavor to keep costs at a minimum. Allowing a portion of class settlement funds to be used for

past unaccounted for and future expenses is a well-accepted practice. See, e.g., In re Pork Antitrust

Litig., No. 0:18-cv-01776-JRT (ECF No. 1424) (D. Minn. July 22, 2022) (Bruckner Decl. Ex. 23)

(awarding attorneys’ fees at 33 1/3 percent and approving incurred and future litigation expenses

totaling $5 million); Newby v. Enron Corp., 394 F.3d 296, 302 (5th Cir. 2004) (affirming 37.5

percent set aside for establishment of a $15 million litigation expense fund from the proceeds of a

partial settlement); In re Auto Parts Antitrust Litig., No. 12-2311, 2018 WL 7108072, at *2 (E.D.

Mich. Nov. 5, 2018); In re Auto Parts Antitrust Litig., No. 12-2311, 2016 WL 9459355, at *2 (E.D.

Mich. Nov. 29, 2016) (approving request to set aside nearly $10 million for use in future litigation);

In re Auto Parts Antitrust Litig., No. 12-2311, 2015 WL 13715591, at *2 (E.D. Mich. Dec. 7,

2015); In re Transpacific Passenger Air Transp. Antitrust Litig., No. 07-5634, 2015 WL 3396829,

at *3 (N.D. Cal. May. 26, 2015); In re Pressure Sensitive Labelstock, 584 F. Supp. 2d at 702; In

re WorldCom, Inc. Sec. Litig., No. 02-3288, 2004 WL 2591402, at *22 (S.D.N.Y. Nov. 12, 2004);

In re California Micro Devices Sec. Litig., 965 F. Supp. 1327, 1337 (N.D. Cal. 1997); see also

MANUAL FOR COMPLEX LITIGATION (Fourth), § 13.21 (“[P]artial settlements may provide funds

needed to pursue the litigation . . . .”). If the Court grants DPPs’ request for $100,000 for ongoing

and future expenses, Class Counsel will provide the Court a quarterly accounting of payment of




                                                 27
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 36 of 38 PageID #:635452




these expenses. Any unused portion at the conclusion of the case would be added to any remaining

settlement funds for a final distribution.

VI.    THE CLASS REPRESENTATIVES SHOULD RECEIVE SERVICE AWARDS

       Courts regularly grant service awards to class representatives in recognition of the time and

effort they invested in the case. Like in this case, class representatives frequently contribute to the

successful resolution of a class action by assisting with the preparation of the pleadings,

participating in discovery, continually providing information to class counsel, and participating in

settlement negotiations. Williams v. Rohm & Haas Pension Plan, No. 4:04-cv-00078, 2010 WL

4723725, at *2 (S.D. Ind. Nov. 12, 2010), aff’d, 658 F.3d 629 (7th Cir. 2011) (“Because a named

plaintiff plays a significant role in a class action, an incentive award is appropriate as a means of

inducing that individual to participate in the expanded litigation on behalf of himself and others.”).

Their contributions undoubtedly benefit the DPP Class as a whole, and courts in this circuit often

see fit to compensate class representatives for their service to the class. See, e.g., Cook, 142 F.3d

at 1016 (affirming $25,000.00 service award).

       Courts consider various factors when determining an appropriate service award, including

“the actions the [representative] has taken to protect the interests of the class, the degree to which

the class has benefitted from those actions, and the amount of time and effort the [representative]

expended in pursuing the litigation.” Cook, 142 F.3d at 1016 (citing Spicer v. Chicago Bd. Options

Exch., Inc., 844 F. Supp. 1226, 1267 (N.D. Ill. 1993)).

       As specifically set forth in each of their declarations (see Bruckner Decl. Exs. 24-28), each

of the five Class Representatives: Maplevale Farms, Inc.; John Gross and Company, Inc.; Ferraro

Foods, Inc. and Ferraro Foods of North Carolina, LLC; Joe Christiana Food Distributors, Inc.; and

Cedar Farms Co., Inc. dedicated their valuable time to this litigation. Throughout this lengthy

litigation, the Class Representatives advised Class Counsel and approved pleadings, reviewed and


                                                  28
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 37 of 38 PageID #:635453




responded to written discovery, searched for, gathered, preserved, and produced documents,

prepared for and stood for depositions, kept up to date on the progress of the case, and performed

other similar activities. (Bruckner Decl. ¶ 45; see also ECF Nos. 3962-39 to 3962-43 (declarations

from each class representative in support of DPPs’ motion for class certification).) They were

never promised that they would receive any additional compensation for leading the case. (Id. ¶

45.) Rather, they devoted their time and efforts solely to recovery some portion of their own

overcharges and to enable other DPP Class members to recover theirs. (Id.) Their help has been

instrumental to the success of this litigation and, DPPs respectfully submit, each deserves an

additional service award in the amount of $15,000 (bringing the total amount of service awards for

each class representative to $30,000).17

VII.    CONCLUSION

        For these reasons, DPPs respectfully request that this Court award 33 1/3% of the Net

Settlement Fund or $37,279,851.67 as attorneys’ fees, $1,029,448.72 as reimbursement for

litigation expenses, $100,000.00 as a future litigation expense fund, and $15,000.00 in service

awards to each of the five named Class Representatives.




   17
     The Class Representatives each received a $15,000.00 interim service award in December
2021 for their hard work and dedication to this matter. (See ECF No. 5229.) Co-Lead Class
Counsel submit that a further award is warranted here as the Class Representatives continued
supporting this litigation through trial. (Bruckner Decl. ¶ 44.)

                                               29
Case: 1:16-cv-08637 Document #: 7233 Filed: 05/01/24 Page 38 of 38 PageID #:635454




Date: May 1, 2024

/s/ W. Joseph Bruckner
W. Joseph Bruckner (Pro Hac Vice)         Bruce L. Simon (Pro Hac Vice)
Brian D. Clark (Pro Hac Vice)             Jill M. Manning (Pro Hac Vice)
Simeon A. Morbey (Pro Hac Vice)           PEARSON WARSHAW, LLP
Kyle Pozan (IL #6306761)                  555 Montgomery Street, Suite 1205
Arielle S. Wagner (Pro Hac Vice)          San Francisco, CA 94111
Stephen M. Owen (Pro Hac Vice)            T: (415) 433-9000
LOCKRIDGE GRINDAL                         F: (415) 433-9008
NAUEN P.L.L.P.                            bsimon@pwfirm.com
100 Washington Avenue South, Suite 2200   jmanning@pwfirm.com
Minneapolis, MN 55401
T: (612) 339-6900                         Direct Purchaser Plaintiffs’ Co-Lead Class
F: (612) 339-0981                         Counsel
wjbruckner@locklaw.com
bdclark@locklaw.com                       Steven A. Hart (IL #6211008)
samorbey@locklaw.com                      Brian Eldridge (IL #6281336)
kjpozan@locklaw.com                       HART MCLAUGHLIN & ELDRIDGE, LLC
aswagner@locklaw.com                      1 South Dearborn, Suite 1400
smowen@locklaw.com                        Chicago, IL 60603
                                          T: (312) 955-0545
Clifford H. Pearson (Pro Hac Vice)        F: (312) 971-9243
Daniel L. Warshaw (Pro Hac Vice)          shart@hmelegal.com
Bobby Pouya (Pro Hac Vice)                beldridge@hmelegal.com
Michael H. Pearson (Pro Hac Vice)
PEARSON WARSHAW, LLP                      Direct Purchaser Plaintiffs’ Liaison Class
15165 Ventura Boulevard, Suite 400        Counsel
Sherman Oaks, CA 91403
T: (818) 788-8300
F: (818) 788-8104
cpearson@pwfirm.com
dwarshaw@pwfirm.com
bpouya@pwfirm.com
mpearson@pwfirm.com




                                           30
